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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DANA NESSEL, Attorney
General of the State of Michigan,

        Plaintiff,                                No.

v.                                                HON.

SPICY VINES, LLC,

        Defendant.


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Melinda A. Leonard (P63638)
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                                   /


     COMPLAINT FOR PRELIMINARY AND PERMANENT
             INJUNCTIONS PURSUANT TO
 THE TWENTY-FIRST AMENDMENT ENFORCEMENT ACT AND
        MICHIGAN CONSUMER PROTECTION ACT
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I.   PRELIMINARY STATEMENT

     1.    Plaintiff, Michigan Attorney General Dana Nessel, brings

this lawsuit against Defendant, Spicy Vines, LLC, d/b/a Spicy Vines

(Spicy Vines), and seeks preliminary and permanent injunctive relief

pursuant to the Twenty-first Amendment Enforcement Act, 27 U.S.C.

§ 122a, and costs and fines pursuant to the Michigan Consumer

Protection Act, Mich. Comp. Laws § 445.901, et seq.

     2.    Spicy Vines has illegally sold and shipped intoxicating

liquors to consumers in Michigan without licensure by the Michigan

Liquor Control Commission (MLCC).

     3.    These practices violate several provisions of the Michigan

Liquor Control Code, as well as section 3 of the Michigan Consumer

Protection Act, Mich. Comp. Laws § 445.903.

     4.    The MLCC, in partnership with the Michigan Department of

Attorney General, has dedicated extensive resources to enforcing

Michigan’s alcohol sale and shipping restrictions.

     5.    In furtherance of the efforts to combat illegal sales and

shipments of alcohol and avoid litigation, Plaintiff Nessel has attempted




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to stop Spicy Vines from making illegal sales and shipments by issuing

a cease-and-desist letter. See Exhibit 1.

      6.    Spicy Vines failed to comply with the cease-and-desist

request.

      7.    Spicy Vines continues to violate the alcohol sale and

shipping laws imposed by the Michigan Liquor Control Code and, in so

doing, threatens the health, safety, and welfare of Michigan citizens.

      8.    The Twenty-first Amendment to the United States

Constitution prohibits “[t]he transportation or importation into any

State, Territory, or Possession of the United States for delivery or use

therein of intoxicating liquors, in violation of laws thereof.” U.S.

Const. Amend. XXI, § 2.

      9.    This lawsuit is required to restrain Spicy Vines from

engaging or continuing to engage in the violations alleged, to enforce

compliance with Michigan law, to enforce Michigan’s authority over the

transportation and importation of alcoholic liquor into Michigan, and to

protect the health, safety, and welfare of its citizens. See 27 U.S.C.

§ 122a(b)(1)-(2).




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II.   PARTIES

      10.   Plaintiff, Attorney General Dana Nessel, brings this suit in

her official capacity.

      11.   Defendant, Spicy Vines, is a California limited liability

company that conducts business under the name “Spicy Vines” at 441

Healdsburg Ave., Healdsburg, California.

III. JURISDICTION

      12.   The Twenty-first Amendment Enforcement Act, 27 U.S.C.

§ 122a, permits state attorneys general to bring a civil action in federal

district courts when the attorney general “has reasonable cause to

believe that a person is engaged in, or has engaged in, any act that

would constitute a violation of a State law regulating the importation or

transportation of any intoxicating liquor.” 27 U.S.C. § 122a(b).

      13.   “Intoxicating liquor” is defined in the Twenty-first

Amendment Enforcement Act as “any spirituous, vinous, malted,

fermented, or other intoxicating liquor of any kind.” 27 U.S.C.

§ 122a(a)(2).




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      14.   This Court has jurisdiction pursuant to subsection (c)(1) of

the Twenty-first Amendment Enforcement Act, 27 U.S.C. § 122a(c)(1),

which provides in relevant part:

      The district courts of the United States shall have
      jurisdiction over any action brought under this section by an
      attorney general against any person, except one licensed or
      otherwise authorized to produce, sell, or store intoxicating
      liquor in such state.

      15.   Spicy Vines is not licensed or otherwise authorized to

produce, sell, or store intoxicating liquor in the State of Michigan.

      16.   Plaintiff’s state law claims are so related to the action over

which this Court has original jurisdiction that they form part of the

same case or controversy under Article III of the United States

Constitution. As such, this Court has supplemental jurisdiction over

Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367(a).

IV.   VENUE

      17.   The Twenty-first Amendment Enforcement Act, 27 U.S.C.

§ 122a(c)(2), provides that “[a]n action under this section may be

brought only in accordance with section 1391 of Title 28 or in the

district in which the recipient of the intoxicating liquor resides or is

found.”


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     18.    Spicy Vines has made an illegal sale and shipment of

intoxicating liquor to an MLCC investigator who resides in Mason,

Michigan.

     19.    Mason, Michigan, is located in the Western District of

Michigan federal judicial district.

     20.    Venue in the Western District is therefore appropriate

pursuant to the Twenty-first Amendment Enforcement Act, 27 U.S.C.

§ 122a(c)(2).

V.   BACKGROUND

     21.    Since 2015, with the close assistance of the Attorney

General’s Alcohol and Gambling Enforcement Division, the MLCC has

focused on unlicensed entities illegally selling and shipping beer and

wine to consumers in Michigan.

     22.    For the reasons alleged in this Complaint, Plaintiff has

reasonable cause to believe that Spicy Vines is violating Michigan laws

governing the transportation and importation of intoxicating liquor.

     23.    Spicy Vines continues to sell and ship wine directly to

Michigan consumers despite not holding a direct shipper license in the




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State of Michigan. Spicy Vines’ activities constitute illegal importation

of intoxicating liquors.

     24.    Michigan law generally prohibits a person from selling,

delivering, or importing alcoholic liquor in Michigan unless the “sale,

delivery, or importation is made by the [C]ommission, the

[C]ommission’s authorized agent or distributor, an authorized

distribution agent approved by order of the [C]ommission, a person

licensed by the [C]ommission, or by prior written order of the

[C]ommission.” Mich. Comp. Laws § 436.1203(1).

     25.   “Alcoholic liquor” is defined in the Michigan Liquor Control

Code as:

     any spiritous, vinous, malt, or fermented liquor, powder,
     liquids, and compounds, whether or not medicated,
     proprietary, patented, and by whatever name called,
     containing ½ of 1% or more of alcohol by volume that are fit
     for use for food purposes or beverage purposes as defined
     and classified by the [C]ommission according to alcoholic
     content as belonging to 1 of the varieties defined in this
     chapter.

     Mich. Comp. Laws § 436.1105(3).

     26.   Michigan allows only “direct shipper” licensees to sell and

ship wine from outside the state directly to consumers in Michigan. See



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Mich. Comp. Laws § 436.1203(4). “Direct shipper” is defined in the

Michigan Liquor Control Code as either of the following:

     (i)    A wine manufacturer that sells, delivers, or imports
            wine it has manufactured, bottled, and registered with
            the [C]ommission, to consumers in this state or that is
            transacted . . . through the use of any mail order,
            internet, telephone, computer, device, or other
            electronic means, or sells directly to consumers on the
            winery premises.

     (ii)   A wine manufacturer that purchases wine from
            another wine manufacturer and further manufactures
            or bottles the wine or purchases shiners of wine from
            another wine manufacturer in compliance with section
            204a, registers the wine with the [C]ommission and
            sells the wine to consumers in this state that is
            transacted . . . through the use of any mail order,
            internet, telephone, computer, device, or other
            electronic means, or sells directly to consumers on the
            winery premises.

     Mich. Comp. Laws § 436.1203(25)(i).

     27.    Only a licensed Michigan wine maker or an out-of-state wine

manufacturer holding both a federal basic permit and a license to

manufacture wine in its state of domicile may qualify for a direct

shipper license. Mich. Comp. Laws § 436.1203(10).

     28.    Wine satisfies the definitions of “intoxicating liquor” in the

Twenty-first Amendment Enforcement Act and “alcoholic liquor” in the

Michigan Liquor Control Code.

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      29.   Shipments of alcoholic liquor that are transported by

common carriers into Michigan must be reported to the MLCC in

quarterly reports that include, among other things, the name of the

person shipping the alcoholic liquor and the name of the recipient, as

well as the weight of the package and date of delivery. See Mich. Comp.

Laws § 436.1203(19).

VI.   FACTS

      30.   Spicy Vines has not applied for or received a license to sell or

ship alcoholic liquor in Michigan pursuant to the Michigan Liquor

Control Code.

      2021 Shipments

      31.   In November 2021, an MLCC investigator reviewed common

carrier reports that UPS had submitted to the MLCC pursuant to Mich.

Comp. Laws § 436.1203(19) concerning shipments of intoxicating liquor

into Michigan in 2021. The reports showed that Spicy Vines had sent

25 shipments to Michigan addresses during this time period.




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     2021 Cease and Desist Letter

     32.     Based on the MLCC investigator’s findings, in November

2021, the Michigan Department of Attorney General sent a cease-and-

desist letter to Spicy Vines. Exhibit 1.

     33.     The cease-and-desist letter was sent via certified mail to the

address listed by the California Secretary of State for Spicy Vines’

registered agent, Crystalyn Carol Hoffman. The letter was sent return

receipt requested.

     34.     The cease-and-desist letter included an excerpt from the

UPS common carrier reports for 2021 that reflected 25 shipments of

alcoholic liquor into Michigan by Spicy Vines. Exhibit 1 at pp. 1-3.

     35.     The cease-and-desist letter informed Spicy Vines that its

practice of directly shipping alcoholic liquor to consumers in the State of

Michigan is illegal. Furthermore, the cease-and-desist letter stated

that legal action would result if Spicy Vines continued its illegal activity

of selling and shipping alcoholic liquor to consumers in Michigan.

Exhibit 1.




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     36.   The Michigan Department of Attorney General received

confirmation that the cease-and-desist letter was delivered to Spicy

Vines’ registered agent on December 8, 2021.

2022 Shipment

     37.   To investigate whether Spicy Vines had discontinued its

illegal shipments following the November 19, 2021 cease-and-desist

letter, an MLCC investigator placed an order on Spicy Vines’ website,

www.spicyvines.com, on November 29, 2022, for the purchase and

shipment of one 750 ml bottle of 2018 Zin Master Zinfandel-Dry Creek

Valley Wine. Exhibit 2 (order documentation).

     38.   The MLCC investigator purchased the bottle of wine for

$48.00 and was charged $69.71 for shipping. Exhibit 2.

     39.   On December 7, 2022, the MLCC investigator received a

package via UPS addressed to the MLCC investigator at his home in

Mason, Michigan. The package’s return address indicated that it was

sent by Crystalyn Hoffman and listed Spicy Vines’ address in

Healdsburg, CA. Exhibit 3 (photographs of outer package).




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      40.   The package contained the 750 ml bottle of 2018 Zin Master

Zinfandel-Dry Creek Valley Wine that the MLCC investigator had

purchased on Spicy Vines’ website. Exhibit 4 (photographs of bottle).

                                 COUNT I

  CAUSE OF ACTION UNDER TWENTY-FIRST AMENDMENT
                 ENFORCEMENT ACT

      41.   Plaintiff incorporates by reference paragraphs 1-40 as if fully

restated herein.

      42.   Subsection (b) of the Twenty-first Amendment Enforcement

Act, 27 U.S.C. § 122a(b), provides for temporary and permanent

injunctive relief, as follows:

      If the attorney general has reasonable cause to believe that a
      person is engaged in, or has engaged in, any act that would
      constitute a violation of a State law regulating the
      importation or transportation of any intoxicating liquor, the
      attorney general may bring a civil action in accordance with
      this section for injunctive relief (including a preliminary or
      permanent injunction) against the person, as the attorney
      general determines to be necessary to--

            (1) restrain the person from engaging, or
            continuing to engage, in the violation; and

            (2) enforce compliance with the State law.




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     43.   Because Spicy Vines lacked a direct shipper license, its sale

of wine and its shipment of wine to a Michigan consumer violated the

prohibition in Mich. Comp. Laws § 436.1203(1).

     44.   Because Spicy Vines does not fit within one of the categories

of persons permitted to sell, deliver, or import wine or beer in Mich.

Comp. Laws § 436.1204(1), its sales and shipments of wine violate that

statute.

     45.   Both Mich. Comp. Laws § 436.1203 and § 436.1204 are state

laws regulating the importation and transportation of intoxicating

liquor.

     46.   Spicy Vines has also violated section 901(1) of the Michigan

Liquor Control Code, Mich. Comp. Laws § 436.1901(1), which also

regulates the importation and transportation of intoxicating liquor.

That provision states:

     A person, directly or indirectly, himself or herself or by his or
     her clerk, agent or employee shall not manufacture,
     manufacture for sale, sell, offer or keep for sale, barter,
     furnish, or import, import for sale, transport for hire, or
     transport, or possess any alcoholic liquor unless the person
     complies with this act.




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     47.   Absent temporary and permanent injunctive relief, Spicy

Vines may make similar illegal sales and shipments of alcoholic liquor

to Michigan consumers in the future.

     48.   All nonjudicial means of restraining Spicy Vines from

engaging in these violations and enforcing compliance with these

Michigan laws have proven inadequate.

     49.   Accordingly, Plaintiff is entitled to preliminary and

permanent injunctive relief pursuant to the Twenty-first Amendment

Enforcement Act prohibiting Spicy Vines from making future sales and

shipments of alcoholic liquor to Michigan consumers.

                                COUNT II

   MICHIGAN CONSUMER PROTECTION ACT VIOLATIONS

     50.   Plaintiff incorporates by reference paragraphs 1-49 as if fully

restated herein.

     51.   Spicy Vines has engaged in illegal alcohol sales and

shipments to a Michigan consumer.

     52.   These practices by Spicy Vines constitute unlawful “[u]nfair,

unconscionable, or deceptive methods, acts, or practices in the conduct

of trade or commerce” under section 3 of the Michigan Consumer


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Protection Act, Mich. Comp. Laws § 445.903(1), because, by these

actions, Spicy Vines has:

     (a) Caus[ed] a probability of confusion or misunderstanding
     as to . . . the approval . . . of goods or services.

                                    ***

     (c) Represent[ed] that goods . . . have approval . . . that they
     do not have . . ..

                                    ***

     (n) Caus[ed] a probability of confusion or of
     misunderstanding as to the legal rights . . . of a party to a
     transaction.

                                    ***

     (s) Fail[ed] to reveal a material fact, the omission of which
     tends to mislead or deceive the consumer, and which fact
     could not be reasonably known by the consumer.

                                    ***

     (bb) Ma[de] a representation of fact . . . material to the
     transaction such that a person reasonably believes the
     represented . . . state of affairs to be other than it actually is.

                                    ***

     (cc) Fail[ed] to reveal facts which are material to the
     transaction in light of representations of fact made in a
     positive manner.




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     53.      Section 5(1) of the Michigan Consumer Protection Act, Mich.

Comp. Laws § 445.905(1), provides for penalties for each violation of the

Act up to $25,000.00, including injunctive relief and costs.

     54.      Accordingly, Spicy Vines is liable for and should be assessed

civil penalties for each of the Michigan Consumer Protection Act

violations.

                          REQUESTED RELIEF
     Plaintiff respectfully requests this Honorable Court to enter an

Order providing for:

     a)       Preliminary and permanent injunctive relief under the

     Twenty-first Amendment Enforcement Act enjoining

     Defendant from continuing to violate the applicable

     provisions of the Michigan Liquor Control Code;

     b)       Preliminary and permanent injunctive relief under the

     Michigan Consumer Protection Act enjoining Defendant

     from continuing to violate the applicable provisions of that

     Act, Mich. Comp. Laws § 445.905(1);

     c)       The imposition of cumulative civil penalties against

     Defendant pursuant to section 5(1) of the Michigan



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     Consumer Protection Act, specifically $25,000.00 for each

     violation of the Act, including violations learned of through

     the course of discovery, Mich. Comp. Laws § 445.905(1);

     d)    Reimbursement of investigative expenses incurred,

     Mich. Comp. Laws § 445.905(1);

     e)    An award of costs and attorney fees, Mich. Comp. Laws

     § 445.905(1);

     f)    Any other relief determined to be just and appropriate.


                                   Respectfully submitted,

                                    /s/ Rosendo Asevedo, Jr.
                                   ____________________________
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Dated: December 7, 2023




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